UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                11/8/23

WAYNE BALIGA,
                                                 18 Civ. 11642 (VM)
                      Plaintiff,
                                                 ORDER
                - against -

LINK MOTION INC., et al.,

                      Defendants.


VICTOR MARRERO, United States District Judge.

     The Plaintiff and Receiver having informed the Court

that they do not object to the filing of Defendant Shi’s

proposed   supplemental   objections     to    the   August   11,   2023

Report and Recommendation of Magistrate Judge Figueredo, the

supplemental    objections    are   hereby    accepted   as   filed   at

Docket No. 494.

     The Plaintiff and Receiver have requested that they be

given until November 30, 2023 to respond to Defendant Shi’s

objections. The request is hereby GRANTED. Responses, if any,

shall be filed no later than November 30, 2023.

SO ORDERED.

Dated:     8 November 2023
           New York, New York




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